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FILED UNDER SEAL PURSUANT
   TO PROTECTIVE ORDER


            EXHIBIT 9
                   Case 5:24-cv-03203-PHK Document 1-9 Filed 05/28/24 Page 2 of 6
                                                  English

                                  (/en)



Registration data lookup tool
Enter a domain name or an Internet number             Frequently Asked Questions
resource (IP Network or ASN)                                      (FAQ) (/en/faq)

 googlevide.com                                                                      Lookup

By submitting any personal data, I acknowledge and agree that the personal data
submitted by me will be processed in accordance with the ICANN Privacy Policy
(https://www.icann.org/privacy/policy), and agree to abide by the website Terms of
Service (https://www.icann.org/privacy/tos) and the registration data lookup tool
Terms of Use (unsafe:javascript:void(0)).




 Domain Information

  Name: GOOGLEVIDE.COM

  Registry Domain ID: 202996819_DOMAIN_COM-VRSN

  Domain Status:
  clientDeleteProhibited (https://icann.org/epp#clientDeleteProhibited)
  clientTransferProhibited (https://icann.org/epp#clientTransferProhibited)
  clientUpdateProhibited (https://icann.org/epp#clientUpdateProhibited)

  Nameservers:
  NS1.GOOGLEDOMAINS.COM
  NS2.GOOGLEDOMAINS.COM
  NS3.GOOGLEDOMAINS.COM
  NS4.GOOGLEDOMAINS.COM


  Dates
  Registry Expiration: 2024-08-30 05:20:45 UTC

  Updated: 2023-07-29 09:55:09 UTC

  Created: 2005-08-30 05:20:45 UTC




 Contact Information
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  Administrative:
  Mailing Address: CA, US


  Redacted for privacy:
  some of the data in this object has been removed.



  Registrant:
  Organization: Google LLC

  Mailing Address: CA, US

  Redacted for privacy:
  some of the data in this object has been removed.



  Technical:
  Mailing Address: CA, US


  Redacted for privacy:
  some of the data in this object has been removed.




Registrar Information

Name: MarkMonitor Inc.

IANA ID: 292

Abuse contact email: abusecomplaints@markmonitor.com

Abuse contact phone: +1.2086851750




DNSSEC Information

Delegation Signed: Unsigned




Authoritative Servers
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Registry Server URL: https://rdap.verisign.com/com/v1/domain/googlevide.com (https://rdap.verisign.com/com/v1/
domain/googlevide.com)

Last updated from Registry RDAP DB: 2024-04-29 22:11:37 UTC

Registrar Server URL: https://rdap.markmonitor.com/rdap/domain/GOOGLEVIDE.COM (https://rdap.markmonitor.c
om/rdap/domain/GOOGLEVIDE.COM)

Last updated from Registrar RDAP DB: 2024-04-29 22:11:02 UTC
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 Notices and Remarks

  Remarks:
  REDACTED FOR PRIVACY
  Some of the data in this object has been removed.



  Notices:
  Terms of Use
  By submitting an RDAP query, you agree that you will use this data only for
  lawful purposes and that, under no circumstances will you use this data to:
  (1) allow, enable, or otherwise support the transmission by email, telephone,
  or facsimile of mass, unsolicited, commercial advertising, or spam; or
  (2) enable high volume, automated, or electronic processes that send queries,
  data, or email to MarkMonitor (or its systems) or the domain name contacts (or
  its systems).
  MarkMonitor reserves the right to modify these terms at any time.
  By submitting this query, you agree to abide by this policy.
  MarkMonitor Domain Management(TM)
  Protecting companies and consumers in a digital world.
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  Contact us at +1.8007459229
  In Europe, at +44.02032062220
  https://www.markmonitor.com/legal/domain-management-terms-and-conditions (https://www.markmonitor.com/legal/
  domain-management-terms-and-conditions)

  Status Codes
  For more information on domain status codes, please visit https://icann.org/epp.
  https://icann.org/epp (https://icann.org/epp)

  RDDS Inaccuracy Complaint Form
  URL of the ICANN RDDS Inaccuracy Complaint Form: https://www.icann.org/wicf.
  https://www.icann.org/wicf (https://www.icann.org/wicf)




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DATA PROTECTION


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